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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

TRINITY CROSS, et al.,                                 )
                                                       )
       Plaintiffs,                                     )
                                                       )
v.                                                     )     Case No. 4:05CV-772SNLJ
                                                       )
CHIEF JOSEPH MOWKA, et al.,                            )
                                                       )
       Defendants.                                     )

          DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants former Chief Joseph Mokwa, Roger Englehardt, Robert Seeber, Jr., Leonard

Blansitt, Robert Ceriotti, Janice Bockstruck, and Luther Hall hereby move for partial summary

judgment, pursuant to Fed.R.Civ.P. 56, on certain remaining claims and on behalf of Defendant

former Chief Mokwa in the entirety, as follows:

       1. Defendant former Police Chief Mokwa is entitled to qualified immunity on all claims

           remaining against him, including any claims arising out of the events at 3309 Illinois

           and 3022 Cherokee that remain pending against him. Respondent superior is

           inapplicable to actions brought under Sec. 1983, and is also inapplicable to state law

           claims against supervisory officials.

       2. Defendants Englehardt and Ceriotti are entitled to summary judgment on Plaintiff

           Trinity Cross’ strip search claims under both federal and state law, premised on

           events at 3309 Illinois, in that there is no evidence that these Defendants had any

           involvement in any improper strip search of Plaintiff Cross.

       3. Defendants Bockstruck, Blansitt and Hall are entitled to summary judgment on

           Plaintiff Friedrich’s Fourth Amendment claims arising out of the alleged destruction




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            of his property at 3022 Cherokee, in that there is no evidence that these Defendants

            destroyed Plaintiff Friedrich’s property.

       4.    As further support for this Motion, Defendants incorporate by reference their

            Memorandum of Law in Support of Defendants’ Motion for Partial Summary

            Judgment, filed contemporaneously herewith.

       WHEREFORE, Defendants respectfully request that this Court issue its Order granting

summary judgment to Defendants as aforesaid; and for such other relief as this Court deems just.

                                              Respectfully submitted,

                                              CHRIS KOSTER
                                              Attorney General

                                              /s/ Denise L. Thomas
                                              ____________________________
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                                              CHIEF MOKWA, BLANSITT, SEEBER,
                                              ENGLEHARDT, CERIOTTI, BOCKSTRUCK,
                                              AND HALL




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                                CERTIFICATE OF SERVICE

      I hereby certify that the following were notified of this memorandum on this 3rd day of
August, 2009:

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